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 1                                                     HONORABLE RICHARD A. JONES
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 9                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
10                                   AT SEATTLE
11
            SCANNING TECHNOLOGIES
12          INNOVATIONS LLC,                               CASE NO. 2:19-cv-1002-RAJ
13
                                                           ORDER
14                               Plaintiff,
15                  v.
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17          SMARTOSC US LLC,
18                              Defendant.
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20
            On March 1, 2021, this Court entered an Order requiring Plaintiff’s counsel to
21
     provide an updated accounting of attorney’s fees and costs as well as supporting
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     documentation within fourteen (14) days so that judgment could be entered. Dkt. # 13 at
23
     4. Plaintiffs have provided a calculation and documentation of attorney fees and costs
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     related to this case. Dkt. ## 14-1, 14-2, 14-3. In accordance with Trustees of the Const.
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     Indus. & Laborers Health & Welfare Trust v. Redland Ins. Co., 460 F.3d 1253, 1256-57
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     (9th Cir. 2006), the Court awards the hourly fees of both Plaintiff’s counsel and counsel’s
27


     ORDER- 1
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 1 hourly-billing support staff. The Court finds that Plaintiff’s evidence supports an
 2 attorney fee award of $10,935.00 and costs of $825.00. Dkt. ## 14-2, 14-3. This amount
 3 shall be added to the $50,000.00 awarded by this Court on March 1, 2021. Dkt. # 13 at 4.
 4
 5 Therefore, the Court hereby ORDERS:
 6         (1) Default judgment is entered in favor of Plaintiff Scanning Technologies
 7         Innovations, LLC; and,
 8         (2) Default judgment is for the total amount of $61,760.00.
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10         Dated this 15th day of April, 2021.
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13
                                                    A
14                                                  The Honorable Richard A. Jones
                                                    United States District Judge
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     ORDER- 2
